      Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 1 of 7 PageID #:139




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    CRISTIAN RAMOS,                                            )
                                                               )
         Plaintiff,                                            )
                                                               )        Case No. 17-cv-8576
v.                                                             )
                                                               )        Hon. Rebecca R. Pallmeyer
SGT. GEE, et al.                                               )
                                                               )
         Defendants.                                           )

    DEFENDANT GEE’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                             COMPLAINT1

        Defendant, Sgt. Gee, by and through his attorney LISA MADIGAN, Attorney General of

Illinois, hereby submits his answer and affirmative defenses, and states as follows:

                                                   ANSWER

        1.     Defendant 1. C.O. Zambriz true facts, on October 18th, 2016 C.O. Zambriz arrived
to Unit B which was segregation at Stateville-NRC he escorted me out my cell 202 with another
C.O. and also one that was working the tier and took me to the shower to shake me down and put
me on shackles and blue box then took me to go on my court rit, for court now when he was
walking to place me to the van[.]

ANSWER:          Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations of Paragraph 1 of Plaintiff’s Complaint.

        2.       [A]s I was walking with him to the van I told him when we come back from court
don’t place me back on that deck or the second floor gallery I got problems with some inmates
on that floor, he then asked me with who I told him the guy in 212 cell, that’s when he said do
you know his name? How he looks I then told him his last name is “Scaggs” he got tattoos in his
face, but it’s not just him is all they’re black “black stones” “P” they’re black guys “people”
alliance mob, he then asked but why they want to get you or why do you think they want to get at
you I then told him because I got problems with his boys his hood, well my homie supposedly
shot his homie a close friend of his from his neighborhood, they all said including “Scaggs” and
his boys that they’re going to jump me when they get a chance, at the yard on the weekend,
threatening to woop me, beat me up, and cursing at me.


1
 Plaintiff’s Complaint is handwritten. Defendant has formatted Plaintiff’s Complaint into paragraphs for readability
and clarity.
    Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 2 of 7 PageID #:140




ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations of Paragraph 2 of Plaintiff’s Complaint.

       3.       So I know they’re going to jump me or Ima get wooped by several inmates, I’m
already suppose to fight “Scaggs” myself and he has to more of his boys riding for him and with
him, so can you do me a favor and talk to the white shirt and explain my situation, he then officer
Zambriz told me stop being a “pussy” you’ll be good, then I told him I’m for real man don’t put
me on that gallery or if I get wooped, something happens to me any injuries is on you, I already
get one lawsuit pending from this NRC man, he then told me shut your ass up and get in there
and be quiet on the ride till you go see the judge. I then told him you right whatever man, well
when we come back just place me in “protective custody” since you don’t care about me he then
told me there’s no “PC” in this compound it’s a receiving center so I then said to him your lying
whatever don’t worry about it, I then got in the van. Therefore, C.O. Zambriz of what was stated
said and told, and rejection, neglect, avoidance, by his profession of line of duty “fail to protect
me” violation of 14th and 8th amendment by acknowledge on his behalf.

ANSWER:        Defendant denies any constitutional violations. Defendant lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of

Paragraph 3 of Plaintiff’s Complaint.

        4.      Now as me and defendant #1 C.O. Zambriz were walking getting in the van
another C.O. and Defendant #2 C.O. Tucker were walking about maybe 25 to 35 steps behind
with just one more inmate that had court in my courthouse, so now when all three C.O.’s
Zambriz, Tucker, and a Hispanic male officer and the other inmate and I get into the van and
started going to court on our way me and the other inmate were in the back with C.O. Tucker and
C.O. Zambriz was driving and third C.O. Hispanic male in the passenger

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations of Paragraph 4 of Plaintiff’s Complaint.

        5.     [W]hen I then in the back about 15 min into the ride I told C.O. Tucker what I
told C.O. Zambriz about my concerns about the threats and number of inmates against me, that
“Scaggs” a inmate and some members of his gang “Black “P” Stones” said they where gonna
beat me up at the yard that weekend, and I didn’t want to tell Zambriz but I think I heard them
saying they were gonna “piss” urine on me possibly spit in my ass, but didn’t want to mention
that to him cause he already thinks I playing around lying to him and keep cutting me off, but
then when C.O. Zambriz heard and turned off the radio and said shut the fuck up nothing is
gonna happen we already talked about it, and discussed it[.]

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations of Paragraph 5 of Plaintiff’s Complaint.
    Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 3 of 7 PageID #:141




        6.      I then said man you think everything is a game now you wanna get tough and
disrespectful, watch I swear if something happens to me while in the deck, yard this weekend is
on you guys, I told them Ima have hella more lawsuits, you guys suppose to help us but naw just
cause we’re inmates yah don’t give two shits about us, I then told C.O. Tucker can you just place
me in “protective custody” when then C.O. Zambriz said I told you there’s none I then told her
how there’s gotta be this is prison, she then told me and asked me are you testing my
intelligence? If there was protective custody it would be full with all kinds of guys like you C.O.
Tucker told me then told her yah be lying all the time thinking we inmates and be lying and what
you mean guys like me? What you trying to say? C.O. Tucker then said shut up we are not
gonna keep talking about this, I then stayed quiet for a moment when I heard her say you,
mudafuckas ain’t shit always think we lying, when I then shouted loud yah is lying man fuck
yah, there is protective custody and I ain’t lying about what the fuck I said if I knew it was gonna
be a one-on-one fight or no fight at all I’ll be good I wouldn’t say shit to yah at all but there’s a
chance there is gonna be two or three fights or several inmates riding with “Scaggs” the guy that
said he was gonna beat my ass because of my cousin or homie elegintly the one that shot his
homie, he was already trying to kill me in the outside C.O. Tucker then said we ain’t got none to
do with that, that’s your problem and if you wanna listen to music on the way there and the
whole way back I suggest you be quiet and stay seated and then told C.O. Zambriz can you guys
just play the radio before this guy keeps saying shit referring to me, he then turn it up I then just
shook my head and stayed quiet the whole ride and back. Therefore C.O. Tucker of what was
stated said and told and rejection, neglect, avoidance by her profession of line of duty “fail to
protect me” me violation of 14th and 8th amendment by acknowledge on his/her behalf.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about

the truth of the allegations of Paragraph 6 of Plaintiff’s Complaint.

         7.     So when arrived back to Stateville C.O. Zambriz and the C.O. Hispanic male that
was in the passenger were walking from the entrance of Stateville/NRC to unit B when I was in
the hallway I was resting on the wall standing and told them I’m not going in that wing, I told
yah already Ima get my ass beat C.O. Zambriz and other C.O. then said if you waist our time
another minute we’re gonna carry you there that’s when I then told them then that’s what yah
gonna have to do, so they both then grabbed me physically, aggressively and picked me up half
way and threatened me, with pepper spray and then C.O. Zambriz pulled it out just so I can get
scared I was trying to throw myself on the floor to wait for a white shirt to talk to when I was
slowly halfway letting myself get dragged and placed in the cell and uncuffed me it was only so
much I was able to do I had the blue box, shackles and chain around my waist, I then shouted for
a white shirt nobody showed up, and then I was just yelling out my cell telling the CO’s yah ain’t
shirt, yah weak ass hell. Therefore C.O. Zambriz and Hispanic male C.O. of what was stated
said and told and rejection, neglect, avoidance by their profession of line of duty “fail to protect”
me and used accessive force violating my 14th and 8th amendment rights by acknowledge on
his/her behalf.

ANSWER:        Defendant denies any constitutional violations. Defendant lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations of
    Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 4 of 7 PageID #:142




Paragraph 7 of Plaintiff’s Complaint.

         8.      Now 4 days later Saturday morning 10-22-16 about 7:00 am true facts Defendant
#3 Sgt. Gee was asking each cell individually are they coming out for yard, I told him I’m
coming out but I need to talk to you, he then asked every cell where they coming out and came
back to my cell and said what’s going on. I then told him Sgt. Gee there’s gonna be some fights
they’re gonna jump me he then told me who gonna jump you I then told him some the “black
“P” stones” dude “scaggs” in the end cell is one of them, he then told me what you want me to
do, I then told Sgt. Gee put me in another yard by myself or something, he then told me everyone
gotta be together I then told Sgt. Gee but what the fuck they are gonna jump me how are we
gonna be in there together. If I’m telling you something is gonna happen to me they been
threatening me to beat on me man that’s crazy. Sgt. Gee then said there’s a lot of crazy things in
jail that happen, I then told him okay but without people knowing I’m telling you!!! Sgt. Gee
then was saying you’ll be okay relax, I then told him put me in protective custody then, he then
said there’s no protective custody in Stateville/NRC and if there was I ain’t doing no paperwork
right now maybe after they run the yard for the second gallery, I told Sgt. Gee you lying man you
guys saying there’s no “PC” but you said maybe when they are done running the second gallery
yard, you just told on yourself caught you in your lie I told him he then told me I ain’t nobody
for him to lit to, I then said okay then so place me in protective custody he then said there is none
so are you going outside or not I then said man it’s on you to watch the yard I told him what is
going to happen Sgt. Gee then asked me what’s going to happen? and I told him again I’m gonna
get jumped or there’s going to be a lot fights breaking out somebody is gonna get hurt in all
those hours out here he then said he was going to be watching I then told him whatever man
don’t make me write some more paperwork sue this whole place including you for “failing to
protect me” he then said to me your safe there’s cameras in the yard, he then said keep talking
like that and you won’t ever go to yard in seg while I’m working I then said you’ll love that, I’m
going to yard alright I told him he then was walking away saying “not talking slick your not”
therefore Sgt. Gee of what was told to him by me he lied to me, what was stated said and told
and rejection neglect, avoidance by his profession of line of duty as a Sgt. “fail to protect” me
and violation of my 14th and 8th amendment rights by acknowledge on his behalf.

ANSWER:        Deny.

         9.     So then about 8:00 am that morning Oct 22nd first shift C.O. Brantly, C.O. Marco,
Sgt. Gee walked us over to A wing yard and mentioned amongs them that the officers working
on A-wing are gonna supervise us inmates during over yard time for 4 hours straight. When in
reality we were not suppose to get our yard on A-unit but on B-unit’s yard when I and other
inmates went to yard and got cuffs off several inmates got divided into two cages, when officers
left there was a silent moment when I heard another inmate say something to another and then a
fight began, when inmate “Scaggs” approached me we began to fight also when in the midst of
the fight another inmate jumped in and kicked me in the face and dazed me and I couldn’t see
clearly when all I remember waking up blacked out and caught my sight and was getting striked
by feet and hands by that time I was hurt and bleeding bad from my mouth when I felt it, it was
my two tooth’s that I thought were gone I was bleeding and started hitting the wall to get the
CO’s and yelling to get their attention by the time they came and saw what was going on I was
injured bad and had some urine stains on my back possibly had to by my attacked “Scaggs”
    Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 5 of 7 PageID #:143




cause my cell mate had said to my he’s pulling out his penis but I couldn’t stop it, it was hard to
recover and focus at the time, I found out my celly was fighting in the first fight, I suffered two
tooth injuries had to get outside hospital assistance black eye, busted lip, head split back of head
swollen ear and bruised swollen lip, jaw swollen and other scratches and bruises in my forehead
and body arms and legs. I got pain medication some treatment for tooths ice packs etc. couldn’t
even have a celly cause of the injuries, I had my rights violated 14th and 8th amendment cruel and
unusual “fail to protect” by defendant #1 Zambriz, defendant #2 Tucker, defendant #3 Sgt. Gee
and I obviously was not in good hands by the present duty officers which were suppose to be
alert and aware by defendants especially since A-unit is a protective custody unit and also for
minors and suicidal overflow and high profile cases so I would guess I was suppose to be
secured but things got hectic severe by the time officers went to the yard to see what was the
noise it was too late and I was getting beaten for about 15 min or more on the ground, Sgt. Gee
and C.O. Tucker seen the incident and injuries all I did frowned at them and shook my head, I
been submitting grievance forms since the incident till I left I.D.O.C for my parole violation I
submitted about 3 in Stateville/NRC never received nothing back I turned about 2 to Springfield
the administrative review board never got none back either so submitted this form a year later, I
have had my Constitutional rights violated, please help!!! P.s. my celly mentioned months later
that C.O. Tucker was bragging she seen “Scaggs” my main attacker’s penis, camera’s say it all.

ANSWER:        Defendant admits responding to an in-progress fight between the Plaintiff

and “Scaggs.” Defendant denies any violation of Plaintiff’s rights. Defendant lacks

knowledge or information sufficient to form a belief about the truth of the remaining

allegations of Paragraph 9 of Plaintiff’s Complaint.

        I with all my heart is seeking for the courts, to let me get a medical writ with or without
the cost of the courts, to get the dental work I need that I suffered from the trauma incident, a
outside world dentist and is asking the court to great me something reasonable from 75,000 to
200,000 including with the harm I suffered from this incident and my life history incarcerated
knowing I should have taken my old lawsuits too trial and let the judge or jury grant me more
than wat I was pressured to settle and young & dumb at the time, Sincerely, The

ANSWER:        Defendant denies Plaintiff is entitled to any relief, including the relief sought

in his Complaint.

                                      GENERAL DENIAL

Defendant expressly denies any allegation not specifically admitted.

                                  AFFIRMATIVE DEFENSES

Defendant asserts the following affirmative defenses to Plaintiff’s Complaint:
       Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 6 of 7 PageID #:144




       1.     At all times relevant herein, Defendant acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendant is therefore protected from suit by the

doctrine of qualified immunity.

       2.     To the extent Plaintiff’s request for damages are against Defendant in his official

capacity, such claims are barred by Eleventh Amendment immunity.

       3.     To the extent Plaintiff failed to exhaust his administrative remedies prior to

initiating bringing this action, his claims are barred by §1997e(a) of the Prison Litigation Reform

Act.

                                              JURY DEMAND

Defendant demands a jury trial on all triable issues.

            WHEREFORE, Defendant request this Court deny the relief requested in Plaintiff’s

Complaint, and for any other relief this Court deems just and proper.


                                                          Respectfully submitted,

LISA MADIGAN
Attorney General of Illinois                      By:     /s/ Shawn Peters
                                                          Shawn Peters
                                                          Assistant Attorney General
                                                          Office of the Illinois Attorney General
                                                          100 West Randolph Street, 13th Floor
                                                          Chicago, Illinois 60601-3397
                                                          (312) 814-2680
                                                          Speters@atg.state.il.us
    Case: 1:17-cv-08576 Document #: 37 Filed: 11/15/18 Page 7 of 7 PageID #:145




                               CERTIFICATE OF SERVICE

      The undersigned, an attorney, certifies that a copy of the foregoing was served on
November 15, 2018, on the following party by placing a copy of same in the U.S. Mail at 100 W.
Randolph St., Chicago, Illinois 60601:

              Cristian Ramos
              #M-52272
              Pinckneyville Correctional Center
              P.O. Box 999
              Pinckneyville, IL 62274

                                                         /s/ Shawn M. Peters
